          Case 24-70299-JAD                       Doc 1      Filed 07/29/24 Entered 07/29/24 07:43:51                              Desc Main
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Western
 ____________________              Pennsylvania
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Guardian Elder Care at Johnstown, LLC d/b/a Richland Healthcare and Rehabilitation Center
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer
      Identification Number (EIN)                  XX-XXXXXXX



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                               349 Vo-Tech Drive
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box
                                                  Johnstown, PA 15904
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  Cambria County
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                      https://guardianhc.com/
                                              ____________________________________________________________________________________________________




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              Guardian Elder Care at Johnstown, LLC d/b/a Richland
Debtor        Healthcare and Rehabilitation Center
              _______________________________________________________                      Case number (if known)_____________________________________
              Name




 6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                         Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                        B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .

                                             6231
 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                             4/01/25 and every 3 years after that).
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                             chooses to proceed under Subchapter V of Chapter 11.

                                                          A plan is being filed with this petition.
                                                          Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                         Chapter 12
 9.   Were prior bankruptcy cases        No
      filed by or against the debtor
      within the last 8 years?           Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY


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Debtor        Healthcare and Rehabilitation Center
              _______________________________________________________                       Case number (if known)_____________________________________
              Name



 10. Are any bankruptcy cases             No
     pending or being filed by a                        See Attached Schedule 1                                   Affiliate
     business partner or an               Yes. Debtor _____________________________________________ Relationship _________________________
     affiliate of the debtor?                               Western District of Pennsylvania
                                                   District _____________________________________________ When                Date Hereof
                                                                                                                             __________________
     List all cases. If more than 1,                                                                                         MM / DD / YYYY
     attach a separate list.                       Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
     district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
     possession of any real               Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                  It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                  Other _______________________________________________________________________________


                                                 Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                 Is the property insured?

                                                  No
                                                  Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




             Statistical and administrative information



 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                            1,000-5,000                              25,001-50,000
 14. Estimated number of
                                          50-99                           5,001-10,000                             50,001-100,000
     creditors
                                          100-199                         10,001-25,000                            More than 100,000
                                          200-999

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             Guardian Elder Care at Johnstown, LLC d/b/a Richland
Debtor      Healthcare and Rehabilitation Center
            _______________________________________________________                              Case number (if known)_____________________________________
            Name



                                          $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                              petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                              Executed on 07/29/2024
                                                          _________________
                                                          MM / DD / YYYY


                                          /s/ Allen Wilen
                                              _____________________________________________               Allen Wilen
                                                                                                          _______________________________________________
                                              Signature of authorized representative of debtor             Printed name

                                                     Chief Restructuring Officer
                                              Title _________________________________________




 18. Signature of attorney
                                          /s/ Jeffrey C. Hampton
                                              _____________________________________________                Date       07/29/2024
                                                                                                                      _________________
                                              Signature of attorney for debtor                                        MM     / DD / YYYY


                                              Jeffrey C. Hampton
                                              _________________________________________________________________________________________________
                                              Printed name
                                              Saul   Ewing LLP
                                              _________________________________________________________________________________________________
                                              Firm name
                                              1500 Market Street, 38th Floor
                                              _________________________________________________________________________________________________
                                              Number     Street
                                              Philadelphia
                                              ____________________________________________________             PA
                                                                                                              ____________ 19102
                                                                                                                           ______________________________
                                              City                                                            State        ZIP Code

                                              (215) 972-7777
                                              ____________________________________                             jeffrey.hampton@saul.com
                                                                                                              __________________________________________
                                              Contact phone                                                   Email address



                                              59131
                                              ______________________________________________________ PA
                                                                                                     ____________
                                              Bar number                                                      State




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                                         SCHEDULE 1
        On the date hereof, each of the affiliated entities listed below, which includes the debtor in
this chapter 11 case (collectively, the “Debtors”), filed a voluntary petition in this Court for relief
under chapter 11 of title 11 of the United States Code. Contemporaneously with the filling of their
petitions, the Debtors filed a motion requesting that the Court consolidate their chapter 11 cases
for administrative purposes only.

Ancillary Debtors:

        Guardian Healthcare Home & Community Services, LLC
        Guardian Healthcare Pharmacy, LLC
        Guardian Healthcare Rehabilitation Services, LLC

Owned Portfolio Debtors:

        GEC Beaver Falls Real Estate, LLC
        GEC Bethel Park Real Estate, LLC
        GEC Fairmont Real Estate, LLC
        GEC Greensburg Real Estate, LLC
        GEC Highland View, LP
        GEC Lower Burrell Real Estate, LLC
        GEC Monongahela Real Estate, LLC
        GEC Munhall Real Estate, LLC
        Guardian Elder Care at Beaver Falls, LLC d/b/a Beaver Valley Healthcare and
         Rehabilitation Center
        Guardian Elder Care at Bethel Park, LLC d/b/a Meadowcrest Healthcare and Rehabilitation
         Center
        Guardian Elder Care at Brockway, LLC d/b/a Highland View Healthcare and
         Rehabilitation Center
        Guardian Elder Care at Fairmont, LLC d/b/a Fairmont Healthcare and Rehabilitation
         Center
        Guardian Elder Care at Greensburg, LLC d/b/a Oak Hill Healthcare and Rehabilitation
         Center
        Guardian Elder Care at Lower Burrell, LLC d/b/a Belair Healthcare and Rehabilitation
         Center
        Guardian Elder Care at Monongahela, LLC d/b/a/ Havencrest Healthcare and
         Rehabilitation Center
        Guardian Elder Care at Munhall, LLC d/b/a Eldercrest Healthcare and Rehabilitation
         Center
        Guardian Healthcare FOR Group, LLC
        Guardian Healthcare FOR HUD Master Tenant, LLC
        Guardian Healthcare FOR LLC 1% Holdco, Inc.


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        Guardian Healthcare FOR LLC 99% Holdco, LLC

Cuarzo Portfolio Debtors:

        Guardian Elder Care at Altoona, LLC d/b/a Hillview Healthcare and Rehabilitation Center
        Guardian Elder Care at Clarion, LLC d/b/a Clarion Healthcare and Rehabilitation Center
        Guardian Elder Care at Erie I, LLC d/b/a Western Reserve Healthcare and Rehabilitation
         Center
        Guardian Elder Care at Erie II, LLC d/b/a Walnut Creek Healthcare and Rehabilitation
         Center
        Guardian Elder Care at Hastings, LLC d/b/a Haida Healthcare and Rehabilitation Center
        Guardian Elder Care at Johnstown, LLC d/b/a Richland Healthcare and Rehabilitation
         Center
        Guardian Elder Care at Lewistown, LLC d/b/a William Penn Reserve Healthcare and
         Rehabilitation Center
        Guardian Elder Care at Meyersdale, LLC d/b/a Meyersdale Healthcare and Rehabilitation
         Center
        Guardian Elder Care at Oil City, LLC d/b/a Oil City Healthcare and Rehabilitation Center
        Guardian Elder Care at Shippenville, LLC d/b/a Shippenville Healthcare and
         Rehabilitation Center
        Guardian Elder Care at Titusville, LLC d/b/a Titusville Healthcare and Rehabilitation
         Center
        Guardian Elder Care at Uniontown, LLC d/b/a Uniontown Healthcare and Rehabilitation
         Center
        Guardian Elder Care at Warren, LLC d/b/a Kinzua Healthcare and Rehabilitation Center
        Guardian Elder Care at Waynesburg, LLC d/b/a Waynesburg Healthcare and
         Rehabilitation Center
        Guardian Healthcare GOL Group, LLC
        Guardian Healthcare GOL LLC 1% Holdco, Inc.
        Guardian Healthcare GOL LLC 99% Holdco, LLC

Management Company Debtors:

        Guardian Healthcare Home Office I, LLC
        Guardian Healthcare Home Office II, LLC
        Guardian Healthcare Home Office IV, LLC
        Guardian Healthcare Management Services Holdco, LLC




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                                          OMNIBUS UNANIMOUS CONSENT IN WRITING OF
                                          MANAGERS, BOARD OF DIRECTORS OR PARTNERS
                                                     IN LIEU OF A MEETING

                                                                  July 28, 2024

             The undersigned, being all of the Managers or all of the Directors, as the case may be, of each of the following
             Pennsylvania limited liability companies or Pennsylvania corporations:

                         GEC Beaver Falls Real Estate, LLC
                         GEC Bethel Park Real Estate, LLC
                         GEC Fairmont Real Estate, LLC
                         GEC Greensburg Real Estate, LLC
                         GEC Lower Burrell Real Estate, LLC
                         GEC Monongahela Real Estate, LLC
                         GEC Munhall Real Estate, LLC
                         Guardian Elder Care at Altoona, LLC d/b/a Hillview Healthcare and Rehabilitation Center
                         Guardian Elder Care at Beaver Falls, LLC d/b/a Beaver Valley Healthcare and Rehabilitation Center
                         Guardian Elder Care at Bethel Park, LLC d/b/a Meadowcrest Healthcare and Rehabilitation Center
                         Guardian Elder Care at Brockway, LLC d/b/a Highland View Healthcare and Rehabilitation Center
                         Guardian Elder Care at Clarion, LLC d/b/a Clarion Healthcare and Rehabilitation Center
                         Guardian Elder Care at Erie I, LLC d/b/a Western Reserve Healthcare and Rehabilitation Center
                         Guardian Elder Care at Erie II, LLC d/b/a Walnut Creek Healthcare and Rehabilitation Center
                         Guardian Elder Care at Fairmont, LLC d/b/a Fairmont Healthcare and Rehabilitation Center
                         Guardian Elder Care at Greensburg, LLC d/b/a Oak Hill Healthcare and Rehabilitation Center
                         Guardian Elder Care at Hastings, LLC d/b/a Haida Healthcare and Rehabilitation Center
                         Guardian Elder Care at Johnstown, LLC d/b/a Richland Healthcare and Rehabilitation Center
                         Guardian Elder Care at Lewistown, LLC d/b/a William Penn Reserve Healthcare and Rehabilitation Center
                         Guardian Elder Care at Lower Burrell, LLC d/b/a Belair Healthcare and Rehabilitation Center
                         Guardian Elder Care at Meyersdale, LLC d/b/a Meyersdale Healthcare and Rehabilitation Center
                         Guardian Elder Care at Monongahela, LLC d/b/a/ Havencrest Healthcare and Rehabilitation Center
                         Guardian Elder Care at Munhall, LLC d/b/a Eldercrest Healthcare and Rehabilitation Center
                         Guardian Elder Care at Oil City, LLC d/b/a Oil City Healthcare and Rehabilitation Center
                         Guardian Elder Care at Shippenville, LLC d/b/a Shippenville Healthcare and Rehabilitation Center
                         Guardian Elder Care at Titusville, LLC d/b/a Titusville Healthcare and Rehabilitation Center
                         Guardian Elder Care at Uniontown, LLC d/b/a Uniontown Healthcare and Rehabilitation Center
                         Guardian Elder Care at Warren, LLC d/b/a Kinzua Healthcare and Rehabilitation Center
                         Guardian Elder Care at Waynesburg, LLC d/b/a Waynesburg Healthcare and Rehabilitation Center
                         Guardian Healthcare FOR Group, LLC
                         Guardian Healthcare FOR HUD Master Tenant, LLC
                         Guardian Healthcare FOR LLC 99% Holdco, LLC
                         Guardian Healthcare FOR LLC 1% HoldCo, Inc.
                         Guardian Healthcare GOL Group, LLC
                         Guardian Healthcare GOL LLC 1% Holdco, Inc.
                         Guardian Healthcare GOL LLC 99% Holdco, LLC
                         Guardian Healthcare Home & Community Services, LLC
                         Guardian Healthcare Home Office I, LLC
                         Guardian Healthcare Home Office II, LLC
                         Guardian Healthcare Home Office IV, LLC
                         Guardian Healthcare Management Services Holdco, LLC
                         Guardian Healthcare Pharmacy, LLC



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                         Guardian Healthcare Rehabilitation Services, LLC

             (those entities, collectively, the “Non-Partnership Debtor Entities” and each, a “Non-Partnership Debtor
             Entity”);

             and the general partner and limited partner (collectively the “Partners”) of GEC Highland View, LP, a
             Pennsylvania limited partnership (the “Partnership Debtor Entity” and, together with the Non-Partnership Debtor
             Entities, collectively, the “Debtor Entities” and each, a “Debtor Entity”);

             and the Partnership Debtor Entity and the following Non-Partnership Debtor Entities are referred to herein
             collectively as the “Owned Facility Debtor Entities”:
                   GEC Beaver Falls Real Estate, LLC
                   GEC Bethel Park Real Estate, LLC
                   GEC Fairmont Real Estate, LLC
                   GEC Greensburg Real Estate, LLC
                   GEC Lower Burrell Real Estate, LLC
                   GEC Monongahela Real Estate, LLC
                   GEC Munhall Real Estate, LLC
                   Guardian Elder Care at Beaver Falls, LLC d/b/a Beaver Valley Healthcare and Rehabilitation Center
                   Guardian Elder Care at Bethel Park, LLC d/b/a Meadowcrest Healthcare and Rehabilitation Center
                   Guardian Elder Care at Brockway, LLC d/b/a Highland View Healthcare and Rehabilitation Center
                   Guardian Elder Care at Fairmont, LLC d/b/a Fairmont Healthcare and Rehabilitation Center
                   Guardian Elder Care at Greensburg, LLC d/b/a Oak Hill Healthcare and Rehabilitation Center
                   Guardian Elder Care at Lower Burrell, LLC d/b/a Belair Healthcare and Rehabilitation Center
                   Guardian Elder Care at Monongahela, LLC d/b/a/ Havencrest Healthcare and Rehabilitation Center
                   Guardian Elder Care at Munhall, LLC d/b/a Eldercrest Healthcare and Rehabilitation Center
                   Guardian Healthcare FOR Group, LLC
                   Guardian Healthcare FOR HUD Master Tenant, LLC
                   Guardian Healthcare FOR LLC 99% Holdco, LLC
                   Guardian Healthcare GOL LLC 1% Holdco, Inc.

             hereby approve the following resolutions of each of the Debtor Entities by unanimous consent in lieu of a meeting:

             AUTHORIZATION TO FILE VOLUNTARY PETITION UNDER CHAPTER 11

                          WHEREAS, the Managers, Directors or Partners, as the case may be, of each of the Debtor Entities have
                          reviewed the financial records of each of the Debtor Entities, have considered the business and financial
                          condition of each of the Debtor Entities, and are aware of the assets, liabilities, potential liabilities and
                          liquidity of each of the Debtor Entities, and have had the opportunity to consult with the management and
                          advisors of each of the Debtor Entities and fully considered all of the strategic alternatives available to each
                          of the Debtor Entities; and

                          WHEREAS, as a result of the current financial situation of the Debtor Entities, it appears that it may be
                          necessary for the Debtor Entities to file for reorganization under chapter 11 (the “Bankruptcy”) of title 11
                          of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Western
                          District of Pennsylvania (the “Bankruptcy Court”).

                          IT IS THEREFORE, RESOLVED, that the Managers, Directors or Partners, as the case may be, of each
                          of the Debtor Entities have determined in their judgment that it may be desirable and in the best interests of
                          each of the Debtor Entities, their respective creditors and other interested parties to commence the
                          Bankruptcy; and




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                          FURTHER RESOLVED, that the Chief Executive Officer, Chief Restructuring Officer, or any other duly
                          appointed officer of each of the Debtor Entities, together with any other person or persons hereafter
                          designated in writing by the Managers, the Board of Directors or the general partner, as the case may be, of
                          the Debtor Entity in question (each individually an “Authorized Officer” and collectively the “Authorized
                          Officers”), alone or with one or more other Authorized Officers be, and hereby are, authorized and
                          empowered to execute and file on behalf of the applicable Debtor Entities all petitions, schedules, lists,
                          motions, applications, pleadings and other papers or documents as necessary to commence the Bankruptcy,
                          and to take any and all further acts and deeds that they deem necessary, proper and desirable in connection
                          with the Bankruptcy, with a view to the successful prosecution of such case; and

                          FURTHER RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized and
                          empowered to, in the name and on behalf of the applicable Debtor Entity, to negotiate, make, execute and
                          deliver, either jointly or severally, any and all debtor-in-possession loan documents, and any and all
                          amendments, supplements, modifications, extensions, renewals, replacements, agreements, documents and
                          instruments relating to the foregoing, subject to any requisite Bankruptcy Court approval; provided, however,
                          that notwithstanding their signatures below, Peter C. Varischetti, in his capacity as Manager and as trustee of
                          the 2011 IRR Trust FBO Peter C. Varischetti, in its capacity as general partner of Guardian Healthcare Other
                          PropCo 99% Holdco, and Nicholas D. Varischetti, in his capacity as Manager and as trustee of the 2011 IRR
                          Trust FBO Nicholas D. Varischetti, in its capacity as general partner of Guardian Healthcare Other PropCo
                          99% Holdco, hereby abstain from consenting to this provision with respect to the Owned Facilities Debtors
                          only; and

                          FURTHER RESOLVED, that in connection with the Debtor Entities’ commencement of their chapter 11
                          cases (together, the “Chapter 11 Cases”), the Authorized Officers are authorized and directed to seek
                          approval of a cash collateral order in interim and final form (a “Cash Collateral Order”), and the Chief
                          Executive Officer, Chief Restructuring Officer, or any other Authorized Officer, alone or with one or more
                          other Authorized Officers, are authorized, empowered and directed to negotiate, execute and deliver any and
                          all agreements, instruments or documents by or on behalf of the Debtor Entities necessary to implement the
                          Cash Collateral Order, as well as any additional or further agreements for the use of cash collateral in
                          connection with the Chapter 11 Cases, which agreements may require the Debtor Entities to grant liens to the
                          companies’ existing lender, and each other agreement, instrument or document to be executed and delivered
                          in connection therewith, all with such changes therein and additions thereto as the Authorized Officers
                          approve, such approval to be conclusively evidenced by the taking of such action or by the execution and
                          delivery thereof, subject to Bankruptcy Court approval; provided, however, that notwithstanding their
                          signatures below, Peter C. Varischetti, in his capacity as Manager and as trustee of the 2011 IRR Trust FBO
                          Peter C. Varischetti, in its capacity as general partner of Guardian Healthcare Other PropCo 99% Holdco,
                          and Nicholas D. Varischetti, in his capacity as Manager and as trustee of the 2011 IRR Trust FBO Nicholas
                          D. Varischetti, in its capacity as general partner of Guardian Healthcare Other PropCo 99% Holdco, hereby
                          abstain from consenting to this provision with respect to the Owned Facilities Debtors only; and

                          FURTHER RESOLVED, that the law firm of Saul Ewing LLP is hereby engaged as general bankruptcy
                          counsel for each Debtor Entity under general retainer in the Bankruptcy, subject to any requisite Bankruptcy
                          Court approval; and

                          FURTHER RESOLVED, that the Debtor Entities’ engagement of Eisner Advisory Group LLC (“Eisner”)
                          as their financial advisor pursuant to the terms of that certain letter agreement with Eisner is hereby ratified,
                          confirmed and approved in all respects and, in connection therewith, each of the Authorized Officers, with
                          power of delegation, is hereby authorized, empowered, and directed to execute appropriate retention
                          agreements, pay appropriate retainers, and to cause to be filed an appropriate application for authority to
                          retain Eisner in accordance with applicable law; and

                          FURTHER RESOLVED, that the firm of Omni Agent Solutions (“Omni”) is hereby engaged as notice,
                          claims, and balloting agent and as administrative advisor to represent and assist each of the Debtor Entities
                          in carrying out their respective duties under the Bankruptcy Code and to take any and all actions to advance
                          the each Debtor Entity’s rights and remedies and, in connection therewith, each of the Authorized Officers,
                          with power of delegation, is hereby authorized, empowered, and directed to execute appropriate retention


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                                                         Document      Page 10 of 21


                          agreements, pay appropriate retainers, and to cause to be filed an appropriate application for authority to
                          retain (“Omni”) in accordance with applicable law; and

                          FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is, authorized, empowered,
                          and directed to employ any other professionals to assist the each of the Debtor Entities in carrying out their
                          respective duties under the Bankruptcy Code and, in connection therewith, each of the Authorized Officers,
                          with power of delegation, is hereby authorized, empowered, and directed to execute appropriate retention
                          agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application for
                          authority to retain the services of any other professionals as necessary.

             RATIFICATION OF ALL PRIOR AND FUTURE ACTIONS

                          IT IS THEREFORE, RESOLVED, that in addition to the specific authorizations heretofore conferred upon
                          the Authorized Officers, each of the Authorized Officers or their designees shall be, and each of them, acting
                          alone, hereby is, authorized and empowered, in the name of, and on behalf of, the applicable Debtor Entity,
                          to take or cause to be taken any and all such further actions, to execute and deliver any and all such
                          agreements, certificates, instruments, and other documents and to pay all expenses, including filing fees, in
                          each case as in such officer or officers’ judgment shall be necessary or desirable to fully carry out the intent
                          and accomplish the purposes of the foregoing resolutions; and

                          FURTHER RESOLVED, that all acts, actions and transactions relating to the matters contemplated by the
                          foregoing resolutions done in the name of and on behalf of the applicable Debtor Entity, which acts would
                          have been approved by the foregoing resolutions except that such acts were taken before these resolutions
                          were certified, are hereby in all respects ratified and approved; and

                          FURTHER RESOLVED, that these resolutions shall be filed with the records of each Debtor Entity.

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             _______________________
             Raymond L. Calhoun


             _______________________
             Peter C. Varischetti
             (subject to Peter C. Varischetti’s abstentions from certain
             of the foregoing resolutions with respect to certain entities,
             as noted above)

             _______________________
             Nicholas D. Varischetti
             (subject to Nicholas D. Varischetti’s abstentions from certain
             of the foregoing resolutions with respect to certain entities,
             as noted above)


             _______________________
             Michael J. Herald


             _______________________
             John Gallick


             (constituting all of the Managers or all of the Board of Directors, as the case may be, of each of the Non-Partnership
             Debtor Entities)


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              GENERAL PARTNER:                                             LIMITED PARTNER:
              GUARDIAN HEALTHCARE OTHER
              PROPCO 1% HOLDCO, LLC, a Pennsylvania                        GUARDIAN HEALTHCARE OTHER
              limited liability company                                    PROPCO 99% HOLDCO, a Pennsylvania
                                                                           general partnership
              By:____________________________________
              Name: Michael J. Herald                                      By its General Partners:
              Title: Chief Executive Officer
                                                                               2011 IRR Trust FBO Peter C. Varischetti

                                                                               By:__________________________________
                                                                               Name: Peter C. Varischetti
                                                                               Title: Trustee
                                                                               (subject to Peter C. Varischetti’s abstentions from
                                                                               certain of the foregoing resolutions with respect to
                                                                               certain entities, as noted above)

                                                                               2011 IRR Trust FBO Nicholas D. Varischetti

                                                                               By:__________________________________
                                                                               Name: Nicholas D. Varischetti
                                                                               Title: Trustee
                                                                               (subject to Nicholas D. Varischetti’s abstentions
                                                                               from certain of the foregoing resolutions with
                                                                               respect to certain entities, as noted above)

                                                                               IRR Trust of Raymond L. Calhoun &
                                                                               Michelle L. Calhoun FBO Amanda R.
                                                                               Calhoun

                                                                               By:__________________________________
                                                                               Name: Amanda R. Baker
                                                                               Title: Trustee

                                                                               By:__________________________________
                                                                               Name: Justin M. Calhoun
                                                                               Title: Trustee

                                                                               IRR Trust of Raymond L. Calhoun &
                                                                               Michelle L. Calhoun FBO Justin M. Calhoun
                                                                               By:__________________________________
                                                                               Name: Justin M. Calhoun
                                                                               Title: Trustee

                                                                               By:__________________________________
                                                                               Name: Amanda R. Baker
                                                                               Title: Trustee




             (constituting all of the Partners, of each of the Partnership Debtor Entity)




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Debtor name Guardian Elder Care at Johnstown, LLC dba Richland Healthcare and Rehabilitation

UNITED STATES BANKRUPTCY COURT WESTERN DISTRICT OF PENNSYLVANIA
Case No. (If known)
                                                                                                                                                    Check if this is an
Official Form 204                                                                                                                                   amended filing

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                     12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.

Name of creditor and complete                                                       Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                                  claim is
mailing address, including zip             email address of creditor contact        claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                               (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                    trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                    loans,                               deduction for value of collateral or setoff to
                                                                                    professional                         calculate unsecured claim.
                                                                                    services, and
                                                                                    government
                                                                                                                        Total Claim, if   Deduction        Unsecured claim
                                                                                    contracts)
                                                                                                                        partially         for value of
                                                                                                                        secured           collateral or
                                                                                                                                          setoff


1   Pennsylvania Dept. of Human Services   Pennsylvania Dept. of Human Services     Nursing Facility    Unliquidated                                             $26,975,556.16
    c/o Thomas J. Car                      Thomas J. Car, Assistant Counsel         Assessments         & Disputed
    Health & Welfare Bldg                  Tel: 717-783-2800
    625 Forster St, 3rd Fl W               Email: tcar@pa.gov
    Harrisburg, PA 17120




2   Highmark Blue Shield                   Highmark Blue Shield                     Trade debt          Disputed                                                  $3,304,833.60
    Attn: Danielle Blackburn               Tel: 412-544-7000
    120 5th Ave, Paphm                     Email: Danielle.blackburn@highmark.com
    Pittsburgh, PA 15222




3   Cardinal Health                        Cardinal Health                          Trade debt                                                                      $735,752.53
    Attn: Tammie Young                     Tel: 724-316-7277
    7000 Cardinal Pl                       Fax: 614-652-4037
    Dublin, OH 43017                       Email:
                                           Tammie.Young@cardinalhealth.com



4   Medline Industries, Inc.               Medline Industries, Inc.                 Trade debt                                                                      $642,694.68
    Attn: Jennifer Wilson                  Fax: 800-351-1512
    3 Lakes Dr                             Email: wilson@medline.com
    Northfield, IL 60093




5   Noridian Healthcare Solutions, LLC     Noridian Healthcare Solutions, LLC       Trade debt                                                                      $459,117.00
    Attn: Jesse Score                      Tel: 855-609-9960
    4510 13th Ave S                        Email: Jesse.Score@noridian.com
    Fargo, ND 58103




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Debtor name Guardian Elder Care at Johnstown, LLC dba Richland Healthcare a                                 Case No. (If known)

                                                                        (Continuation Sheet)

Name of creditor and complete                                                        Nature of the       Indicate if      Amount of unsecured claim
                                             Name, telephone number, and                                 claim is
mailing address, including zip               email address of creditor contact       claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                                (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                     trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                     loans,                               deduction for value of collateral or setoff to
                                                                                     professional                         calculate unsecured claim.
                                                                                     services, and
                                                                                     government
                                                                                                                         Total Claim, if   Deduction        Unsecured claim
                                                                                     contracts)
                                                                                                                         partially         for value of
                                                                                                                         secured           collateral or
                                                                                                                                           setoff


6   Smartlinx Solutions LLC                  Smartlinx Solutions LLC                 Trade debt                                                                      $344,506.27
    Attn: Maren Jones                        Tel: 732-258-0174
    240 Middlesex Tpke, Ste 348              Fax: 800-737-5786
    Iselin, NJ 08830                         Email: maren.jones@smartlinsx.com




7   Proassurance Specialty Insurance Co.     Proassurance Specialty Insurance Co.    Trade debt                                                                      $150,000.00
    Attn: Kevin Shook                        Tel: 205-802-4785
    100 Brookwood Pl                         Email: kevinshook@eains.com
    Birmingham, AL 35259




8   Sysco                                    Sysco                                   Trade debt                                                                      $136,570.93
    Attn: Donnisha Mosley                    Email: mosley.donnisha@sbs.sysco.com
    1 Whitney Dr
    Harmony, PA 16037




9   Direct Supply, Inc.                      Direct Supply, Inc.                     Trade debt                                                                      $119,224.76
    Attn: Kim Mockler                        Fax: 800-250-1961
    P.O. Box 88201                           Email: kmockler@directs.com
    Milwaukee, WI 53288




10 Value Drug Co.                            Value Drug Co.                          Trade debt                                                                       $99,802.74
   Attn: Francis Straub                      Tel: 814-944-9316
   195 Theater Dr                            Fax: 814-944-9553
   P.O. Box 1027                             Email: rhollen@ValueDrugCO.com
   Duncansville, PA 16635



11 Citizens Security                         Citizens Security                       Trade debt                                                                       $70,674.00
   Attn: Kelly Phillipsviars                 Tel: 502-244-2420
   12910 Shelbyville Rd, Ste 300             Fax: 502-254-4063
   Louisville, KY 40243                      Email: kelly.phillipsviars@cslico.com




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Debtor name Guardian Elder Care at Johnstown, LLC dba Richland Healthcare a                               Case No. (If known)

                                                                     (Continuation Sheet)

Name of creditor and complete                                                      Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                                 claim is
mailing address, including zip             email address of creditor contact       claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                              (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                   trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                   loans,                               deduction for value of collateral or setoff to
                                                                                   professional                         calculate unsecured claim.
                                                                                   services, and
                                                                                   government
                                                                                                                       Total Claim, if   Deduction        Unsecured claim
                                                                                   contracts)
                                                                                                                       partially         for value of
                                                                                                                       secured           collateral or
                                                                                                                                         setoff


12 GLC On-The-Go Inc.                      GLC On-The-Go Inc.                      Trade debt                                                                       $53,887.25
   Attn: Matthew Shub                      Tel: 877-782-3345
   55 Weston Rd, Ste 300                   Fax: 877-785-5451
   Weston, FL 33326                        Email: receivables@glcgroup.com;
                                           mshub@glcgroup.com




13 Shiftmed, LLC                           Shiftmed, LLC                           Trade debt                                                                       $47,516.00
   Attn: Kelly Tseng                       Email: Billingsupport@shiftmed.com
   7925 Jones Branch Dr, Ste 1100
   Mclean, VA 22102




14 Genie Healthcare Inc.                   Genie Healthcare Inc.                   Trade debt                                                                       $47,380.50
   Attn: Umme Haney Shaik                  Tel: 855-888-7333
   50 Millstone Rd, Bldg 100, Ste 100      Fax: 732-451-9121
   E Windsor, NJ 08520                     Email: billing@geniehealthcare.com




15 Columbia Ancillary Services, Inc.       Columbia Ancillary Services, Inc.       Trade debt                                                                       $47,173.31
   Attn: Tom Peacock                       Tel: 800-475-4425
   1388 State Rte 487                      Fax: 570-784-1573
   Bloomsburg, PA 17815-8953               Email: tpeacock@cas.jdkmgt.com




16 Focused Staffing Group LLC              Focused Staffing Group LLC              Trade debt                                                                       $41,406.25
   Attn: Kath Millarosa                    Tel: 484-243-0283
   P.O. Box 5721                           Email: Katherine@focused-staffing.com
   Kingwood, TX 77325




17 Dedicated Nursing Associates, Inc.      Dedicated Nursing Associates, Inc.      Trade debt                                                                       $35,108.25
   Attn: Brittany Lamonna                  Tel: 855-349-6013
   6536 William Penn Hwy Rt 22, Ste 201    Email: AR@dedicatednurses.com
   Delmont, PA 15626-2409




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Debtor name Guardian Elder Care at Johnstown, LLC dba Richland Healthcare a                                  Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                         Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                   claim is
mailing address, including zip              email address of creditor contact         claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                                 (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                      trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                      loans,                               deduction for value of collateral or setoff to
                                                                                      professional                         calculate unsecured claim.
                                                                                      services, and
                                                                                      government
                                                                                                                          Total Claim, if   Deduction        Unsecured claim
                                                                                      contracts)
                                                                                                                          partially         for value of
                                                                                                                          secured           collateral or
                                                                                                                                            setoff


18 Waystar Inc.                             Waystar Inc.                              Trade debt                                                                       $32,198.05
   Attn: Matt Hawkins                       Tel: 312-858-1219
   1311 Solutions Ctr.                      Email: billinginquiry@waystar.com
   Chicago, IL 60677




19 Fusion Medical Staffing LLC              Fusion Medical Staffing LLC               Trade debt                                                                       $25,829.75
   Attn: Hillary Saner                      Tel: 877-230-3885
   18881 W Dodge Rd, Ste 300E               Fax: 402-769-2387
   Elkhorn, NE 68022                        Email: Hillary.Saner@fusionmedstaff.com




20 AA Southeast LLC                         AA Southeast LLC                          Trade debt                                                                       $23,685.24
   dba Allshifts                            Tel: 862-339-4075
   Attn: Kim Gonzalez                       Email: k.gonzalez@allshifts.com
   P.O. Box 825160
   Philadelphia, PA 19182-5160




21 Physician's Mobile X-Ray, Inc.           Physician's Mobile X-Ray, Inc.            Trade debt                                                                       $23,072.34
   Attn: Rae Ewer                           Email: REWER@PMX-RAY.COM
   6310 Allentown Blvd, Ste 102
   Harrisburg, PA 17112




22 Emergycare, Inc.                         Emergycare, Inc.                          Trade debt                                                                       $21,979.57
   Attn: Paul Bhnken                        Email: pbehnken@emergycare.org
   1926 Peach St
   Erie, PA 16502-2872




23 National Healthcare                      National Healthcare                       Trade debt                                                                       $20,748.38
   Attn: Ron Hanslovan                      Tel: 814-372-2000
   50 Mahoning St, Ste 100                  Email: nhc@nationalhealthcare.com
   Dubois, PA 15801




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Debtor name Guardian Elder Care at Johnstown, LLC dba Richland Healthcare a                                Case No. (If known)

                                                                    (Continuation Sheet)

Name of creditor and complete                                                       Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                                  claim is
mailing address, including zip             email address of creditor contact        claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                               (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                    trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                    loans,                               deduction for value of collateral or setoff to
                                                                                    professional                         calculate unsecured claim.
                                                                                    services, and
                                                                                    government
                                                                                                                        Total Claim, if   Deduction        Unsecured claim
                                                                                    contracts)
                                                                                                                        partially         for value of
                                                                                                                        secured           collateral or
                                                                                                                                          setoff


24 American Medical Equipment              American Medical Equipment               Trade debt                                                                       $20,453.50
   Attn: Patty Lust                        Email: plust@ame-medical.com
   733 Frederick Rd
   Catonsville, MD 21228




25 Plex Capital, LLC                       Plex Capital, LLC                        Trade debt                                                                       $20,225.84
   Attn: Shanra Chianne Franklin           Tel: 913-229-4224
   9225 Indian Creek Pkwy, Ste 1050        Email: accounting@plexcapital.com
   Overland Park, KS 66210




26 Marvel Medical Staffing                 Marvel Medical Staffing                  Trade debt                                                                       $19,963.73
   Attn: Jason Shea                        Tel: 323-977-4625
   9394 W Dodge Rd, Ste 300                Email: jasonshea@marvelmedstaff.com
   Omaha, NE 68114




27 Sunset Staffing, LLC                    Sunset Staffing, LLC                     Trade debt                                                                       $18,615.50
   Attn: Hunter Harris                     Fax: 866-271-1462
   157 Sheffield Dr                        Email: payroll@sunsetstaffingpros.com
   Sunbury, PA 17801




28 Fame Emergency Medical Services         Fame Emergency Medical Services          Trade debt                                                                       $17,458.90
   Attn: Julie Whitsel                     Email: jwhitsel@fameems.org
   701 Valley St
   Lewistown, PA 17044




29 Hancock County Workshop                 Hancock County Workshop                  Trade debt                                                                       $15,716.18
   Attn: Melissa Perkins                   Fax: 304-748-3910
   1100 Pennsylvania Ave                   Email: mperkins718@comcast.net
   Weirton, WV 26062




30 Prime Time Healthcare LLC               Prime Time Healthcare LLC                Trade debt                                                                       $14,047.50
   Attn: Brendan Garvey                    Tel: 402-933-6700
   P.O. Box 3544                           Fax: 402-933-6710
   Omaha, NE 68103-0544                    Email: Bgarvey@primetimehealthcare.com




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                            IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    In re                                                        Chapter 11

    GUARDIAN ELDER CARE AT                                       Case No. 24-[●]
    JOHNSTOWN, LLC, d/b/a/ RICHLAND
    HEALTHCARE AND REHABILITATION                                Joint Administration Requested
    CENTER, et al.,

                    Debtors.1
    GUARDIAN ELDER CARE AT
    JOHNSTOWN, LLC, d/b/a/ RICHLAND
    HEALTHCARE AND REHABILITATION
    CENTER, et al.,

             v.

    NO RESPONDENT

                     COMBINED CORPORATE OWNERSHIP STATEMENT
                   AND LIST OF EQUITY SECURITY HOLDERS PURSUANT TO
                       FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), and 7007.1

            Pursuant to Rules 1007(a)(1), 1007(a)(3) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, Guardian Elder Care at Johnstown, LLC d/b/a Richland Healthcare and Rehabilitation

Center and certain of its affiliates, who are debtors and debtors in possession in the above-

captioned cases (each a “Debtor” and collectively, the “Debtors”), hereby state as follows:

            1.          Debtor Guardian Healthcare Management Services Holdco, LLC (“Management
                        HoldCo”) is owned as follows: (i) 33% by the 2011 IRR Trust f/b/o Peter C.
                        Varischetti; (ii) 33% by the 2011 IRR Trust f/b/o Nicholas D. Varischetti; (iii) 17%
                        by the IRR Trust of Raymond L. Calhoun and Michelle L. Calhoun f/b/o Amanda
                        R. Calhoun; and (iv) 17% by the IRR Trust of Raymond L. Calhoun and Michelle
                        L. Calhoun f/b/o Justin M. Calhoun.



1
            The last four digits of Guardian Elder Care at Johnstown, LLC d/b/a Richland Healthcare and Rehabilitation
            Center’s federal tax identification number are 7907. Due to the large number of debtor entities in these
            Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax identification
            numbers is not provided herein. A complete list of such information may be obtained on the website of the
            Debtors’ claims and noticing agent at https://omniagentsolutions.com/Guardian. The Debtors’ mailing
            address is: 8796 Route 219, Brockway, Pennsylvania 15824.


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           2.           Debtors Guardian Healthcare Home Office I, LLC, Guardian Healthcare Home
                        Office II, LLC and Guardian Healthcare Home Office IV, LLC are each owned
                        100% by Management HoldCo.

           3.           Debtors Guardian Healthcare GOL LLC 99% Holdco, LLC and Guardian
                        Healthcare GOL LLC 1% Holdco, Inc are each owned as follows: (i) 33% by the
                        2011 IRR Trust f/b/o Peter C. Varischetti; (ii) 33% by the 2011 IRR Trust f/b/o
                        Nicholas D. Varischetti; (iii) 17% by the IRR Trust of Raymond L. Calhoun and
                        Michelle L. Calhoun f/b/o Amanda R. Calhoun; and (iv) 17% by the IRR Trust of
                        Raymond L. Calhoun and Michelle L. Calhoun f/b/o Justin M. Calhoun.

           4.           Debtor Guardian Healthcare GOL Group, LLC (“Guardian GOL Group”)is
                        owned as follows: (i) 99% by Debtor Guardian Healthcare GOL LLC 99% Holdco,
                        LLC; and (ii) 1% by Debtor Guardian Healthcare GOL LLC 1% Holdco, Inc.

           5.           Debtor Guardian GOL Group owns 100% of each of the following entities:
                        Guardian Elder Care at Johnstown, LLC d/b/a Richland Healthcare and
                        Rehabilitation Center, Guardian Elder Care at Altoona, LLC d/b/a Hillview
                        Healthcare and Rehabilitation Center, Guardian Elder Care at Clarion, LLC d/b/a
                        Clarion Healthcare and Rehabilitation Center, Guardian Elder Care at Erie I, LLC
                        d/b/a Western Reserve Healthcare and Rehabilitation Center, Guardian Elder Care
                        at Erie II, LLC d/b/a Walnut Creek Healthcare and Rehabilitation Center, Guardian
                        Elder Care at Hastings, LLC d/b/a Haida Healthcare and Rehabilitation Center,
                        Guardian Elder Care at Lewistown, LLC d/b/a William Penn Reserve Healthcare
                        and Rehabilitation Center, Guardian Elder Care at Meyersdale, LLC d/b/a
                        Meyersdale Healthcare and Rehabilitation Center, Guardian Elder Care at Oil City,
                        LLC d/b/a Oil City Healthcare and Rehabilitation Center, Guardian Elder Care at
                        Shippenville, LLC d/b/a Shippenville Healthcare and Rehabilitation Center,
                        Guardian Elder Care at Titusville, LLC d/b/a Titusville Healthcare and
                        Rehabilitation Center, Guardian Elder Care at Uniontown, LLC d/b/a Uniontown
                        Healthcare and Rehabilitation Center, Guardian Elder Care at Warren, LLC d/b/a
                        Kinzua Healthcare and Rehabilitation Center, Guardian Elder Care at Waynesburg,
                        LLC d/b/a Waynesburg Healthcare and Rehabilitation Center.

           6.           Debtors Guardian Healthcare Pharmacy, LLC Guardian Healthcare Rehabilitation
                        Services, LLC and Guardian Healthcare Home & Community Services, LLC are
                        each owned 100% by non-debtor Guardian Healthcare Ancillary Services Holdco,
                        LLC (the “Ancillary Services Holdco”).

           7.           Debtors Guardian Elder Care at Beaver Falls, LLC d/b/a Beaver Valley Healthcare
                        and Rehabilitation Center, Guardian Elder Care at Bethel Park, LLC d/b/a
                        Meadowcrest Healthcare and Rehabilitation Center, Guardian Elder Care at
                        Fairmont, LLC d/b/a Fairmont Healthcare and Rehabilitation Center, Guardian
                        Elder Care at Greensburg, LLC d/b/a Oak Hill Healthcare and Rehabilitation
                        Center, Guardian Elder Care at Lower Burrell, LLC d/b/a Belair Healthcare and
                        Rehabilitation Center, Guardian Elder Care at Monongahela, LLC d/b/a/
                        Havencrest Healthcare and Rehabilitation Center and Guardian Elder Care at

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                        Munhall, LLC d/b/a Eldercrest Healthcare and Rehabilitation Center are each
                        owned 100% by debtor Guardian Healthcare FOR Group, LLC.

           8.           Debtor Guardian Healthcare FOR Group, LLC is owned 99% by Debtor Guardian
                        Healthcare FOR LLC 99% Holdco, LLC and Debtor Guardian Healthcare FOR
                        LLC 1% Holdco Inc. (together, the “Guardian FOR OpCo Holdcos”).

           9.           Debtor Guardian Healthcare FOR HUD Master Tenant, LLC is owned 100% by
                        Debtor Guardian Healthcare FOR LLC 99% Holdco, LLC.

           10.          Debtor Guardian Elder Care at Brockway, LLC d/b/a Highland View Healthcare
                        and Rehabilitation Center is owned 100% by non-debtor Guardian Healthcare FIN
                        Group, LLC, which is in turn owned 99% by non-debtor Guardian Healthcare FIN
                        LLC 99% Holdco, LLC and 1% by non-debtor Guardian Healthcare FIN LLC 1%
                        Holdco Inc. (together, the “Guardian FIN OpCo Holdcos”).

           11.          Debtors GEC Beaver Falls Real Estate, LLC, GEC Bethel Park Real Estate, LLC,
                        GEC Fairmont Real Estate, LLC, GEC Greensburg Real Estate, LLC, GEC Lower
                        Burrell Real Estate, LLC, GEC Monongahela Real Estate, LLC, and GEC Munhall
                        Real Estate, LLC are each owned 100% by non-debtor Guardian Healthcare FOR
                        Propco 100% Holdco, LLC, which is in turn owned 100% by non-debtor Guardian
                        Healthcare FOR Intermediary, LLC.

           12.          Debtor GEC Highland View, LP is owned 99% by non-debtor holding company
                        Guardian Healthcare Other Propco 99% Holdco and 1% by Guardian Healthcare
                        Other Propcoo 1% Holdco, LLC (together with Guardian Healthcare FOR
                        Intermediary, LLC, the “Owned Propco Holdcos”).

           13.          The Ancillary Services Holdco, the Guardian FOR OpCo Holdcos the Guardian
                        FIN OpCo Holdcos and the Owned PropCo Holdcos are each owned as follows:
                        (i) 33% by the 2011 IRR Trust f/b/o Peter C. Varischetti; (ii) 33% by the 2011 IRR
                        Trust f/b/o Nicholas D. Varischetti; (iii) 17% by the IRR Trust of Raymond L.
                        Calhoun and Michelle L. Calhoun f/b/o Amanda R. Calhoun; and (iv) 17% by the
                        IRR Trust of Raymond L. Calhoun and Michelle L. Calhoun f/b/o Justin M.
                        Calhoun.




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           Case 24-70299-JAD                          Doc 1          Filed 07/29/24 Entered 07/29/24 07:43:51                       Desc Main
                                                                    Document      Page 21 of 21
 Fill in this information to identify the case and this filing:


 Debtor Name Guardian Elder Care at Johnstown, LLC d/b/a Richland Healthcare and Rehabilitation Center, et al.
             __________________________________________________________________
                                         Western
 United States Bankruptcy Court for the: ______________________             Pennsylvania
                                                                District of __________
                                                                                            (State)
 Case number (If known):     _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a
                             Combined Corporate Ownership Statement and List of Equity Security Holders
                declaration__________________________________________________________________________________




         I declare under penalty of perjury that the foregoing is true and correct.


                     07/29/2024
         Executed on ______________                                    /s/ Allen Wilen
                                                                           _________________________________________________________________________
                           MM / DD / YYYY                                   Signature of individual signing on behalf of debtor



                                                                              Allen Wilen
                                                                            ________________________________________________________________________
                                                                            Printed name

                                                                             Chief Restructuring Officer
                                                                            ______________________________________
                                                                            Position or relationship to debtor



Official Form 202                                  Declaration Under Penalty of Perjury for Non-Individual Debtors
